                                                                    Nov 22, 2023

                                                                   s/ D. Olszewski




                                                      23     MJ   220




11/22/2023



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                          AFFIDAVIT IN SUPPORT OF
            AN APPLICATION UNDER RULE 41 FOR A SEARCH WARRANT

       I, Jacob Cowan, being duly sworn, state the following information to be true to the

best of my knowledge, information, and belief:

                   INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a search warrant authorizing the examination of

property—electronic devices—which are currently in law enforcement possession, and

the extraction from that property of electronically stored information described in

Attachment B.

       2.      I am a sworn federal law enforcement officer with the Federal Bureau of

Investigation (FBI), with authority to investigate federal offenses pursuant to Titles 18,

and 21 of the United States Code. I have been employed as a Special Agent with the FBI

since June 2016. Prior to this, I served as an Officer in the United States Army for twelve

years. I have obtained a Bachelor of Science Degree in Criminal Justice from the

University of Wisconsin-Milwaukee, a Master’s in Professional Studies (M.P.S.) from St.

John’s University, and a Post Graduate Certificate from the Kennedy School of

Government at Harvard University. I graduated from the FBI Academy in Quantico,

Virginia in 2016 and have over seven years of law enforcement experience. I have been

involved in the enforcement and investigation of numerous violations of federal law to

include drug trafficking investigations, firearm trafficking investigations, and violent

crime related cases. I have personally conducted and participated in numerous



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investigations that have given me familiarity with the various methods that criminals use

to conduct illicit firearm and narcotics transactions in violation of federal law. I have used

investigative techniques including, but not limited to: consensual monitoring, physical

surveillance, witness and subject interviews, court authorized electronic surveillance,

review and analysis of telephone records, and the execution of search and arrest warrants.

       3.     In addition to my experience in the investigation of individuals involved in

federal criminal offenses, I also have knowledge and experience in the apprehension and

prosecution of individuals involved in federal criminal offenses. I am familiar with and

have experience in the use of cellular devices used to commit those offenses as well as the

available technology that can be used by law enforcement to assist in identifying the users

of cellular devices and their locations.

       4.     As such, I am “an investigator or officer charged by the Attorney General

with the duty of enforcing any of the criminal, seizure, or forfeiture provisions of the laws

of the United States,” within the meaning of Section 3051(a) of Title 18, United States

Code; that is, an officer of the United States who is empowered by law to conduct

investigations of, execute warrants and to make arrests for offenses against the United

States and offenses enumerated in United States Code Title 18 and Title 21.

       5.     Based upon my training and experience, I know that computer hardware

and software may be important to a criminal investigation in two distinct and important

respects: (1) the objects themselves may be instrumentalities, fruits, or evidence of crime,

and/or (2) the objects may have been used to collect and store information about crimes

(in the form of electronic data). Rule 41 of the Federal Rules of Criminal Procedure

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permits the government to search and seize computer hardware and software that are (1)

instrumentalities, fruits, or evidence of crime, or (2) storage devices for information about

crime.

         6.   To this end, based upon my training and experience, I know that

individuals involved in drug trafficking commonly use cellular telephones to facilitate

their drug trafficking activities. I have also found it very common for crime suspects to

use their cellular telephones to communicate aurally or via electronic message in “text”

format with individuals whom they purchase, trade, or otherwise negotiate to obtain

illegal drugs. I know that drug traffickers commonly maintain and possess multiple

cellular telephones, swap out cellular telephones routinely (i.e., discontinue use of one or

more cellular telephones and replace them with new phones in hopes of evading

detection by law enforcement), and sometimes allow other drug trafficking associates to

use their phones to conduct drug trafficking business. I also know that it is common for

crime suspects who illegally possess controlled substances and firearms to often take or

cause to be taken photographs and other visual depictions of themselves, their associates,

and the controlled substances and firearms that they control, possess, buy, and sell.

         7.   This affidavit is intended to show only that there is sufficient probable

cause for the requested warrant and does not set forth all of my knowledge about this

matter.

              IDENTIFICATION OF THE DEVICES TO BE EXAMINED

         8.   The property to be searched is described as follows:



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             a.     One    black   Apple    iPhone   bearing   IMEI#    353182930612634

(hereinafter “TARGET DEVICE A”);

             b.     One black Nokia cellular telephone bearing IMEI# 358712911622601

(hereinafter “TARGET DEVICE B”); and

             c.     One black Nokia cellular telephone bearing IMEI# 358712915453102

(hereinafter “TARGET DEVICE C”).

      9.     TARGET DEVICES A, B, and C, collectively the TARGET DEVICES, are

currently located within FBI Evidence, located at 3600 South Lake Drive, St. Francis,

Wisconsin.

      10.    The applied-for warrant would authorize the forensic examination of the

TARGET DEVICES for the purpose of identifying electronically stored data particularly

described in Attachment B.


                                   PROBABLE CAUSE

      11.    I am investigating Joshua MARTIN (“MARTIN”), who is suspected of

possessing with the intent to distribute controlled substances, in violation of Title 21,

United States Code, Sections 846 and 841.

      12.    On or about November 12, 2023, a Mount Pleasant Police Officer received a

call for service from the manager at the Kwik Trip gas station located at 943 SE Frontage

Road, Village of Mount Pleasant, Racine, Wisconsin, for a welfare check for a Hispanic

male leaning against a dumpster. The manager of the Kwik Trip also alerted officers to a

black male who appeared to be passed out in a black Dodge Charger, which vehicle was



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running and parked in front of the store. The manager informed officers that were

enroute to the Kwik Trip that the black male in the Dodge Charger appeared to be

breathing but also appeared to be intoxicated.

       13.    Upon officers arriving at the Kwik Trip, they located the black in color

Dodge Charger in front of the store. Upon pulling up to the vehicle, officers observed the

vehicle had its headlights illuminated and left turn signal was activated, and the vehicle

was parked in two different parking spaces. Officers positioned their vehicle in back of

the Dodge Charger, bearing Wisconsin license plate 18134AFT, which came back to a

rental company, exited their marked squad unit and approached the driver’s side door.

       14.    The officer observed the driver’s window was cracked and a black male

appeared to be unconscious in the driver’s seat. The officer called out to the black male

several times with no response. Due to the officer not knowing if the black male required

medical attention, the officer opened the driver’s side door and conducted a sternum rub,

when the black male slowly regained consciousness. The black male began to speak very

slow with broken sentences. The officer asked the black male if he took anything, and the

black male said he took a pain pill. The officer dispatched emergency medical services to

the Kwik Trip service station. The officer observed vomit in the vehicle and just outside

the driver’s side door.

       15.    While waiting for emergency medical services to arrive to the location, the

black male began to lean to his right side and stick his hand in his pocket. The officer told

the black male multiple times to take his hand out of his pocket, and the male eventually

complied. For safety, the officer positioned himself in a manner in which the black male

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could not exit the vehicle, while the officer waited for back up to arrive. Once another

officer arrived to the location, the officer had the black male exit the driver’s seat of the

vehicle for a pat down and so that he would be seen by emergency medical services. The

black male had trouble gaining his balance. The officer believed due to his training and

experience that the black male was under the influence of narcotics and had possibly

overdosed.

       16.    The officer conducted a pat down frisk for weapons. Upon the officer’s pat

down on the black males’ right pants pocket without manipulation of the clothing, the

officer felt a large bulge, which was consistent with a large baggie of individual pills. As

the officer continued the pat down, the black male began to step away. The officers then

took control of the black male’s arms, stabilized him, and detained him by placing him in

handcuffs. Once in handcuffs, the officer then went to the right pocket of the black male

and removed a clear plastic baggie with a large quantity of blue pills with M30 printed

on them. The black male was taken into custody. The officer believed through his training

and experience that M30 pills were known to be counterfeited and manufactured pressed

pills possibly containing fentanyl. The black male verbally stated his name was Joshua

MARTIN, and his identity was later confirmed by the officer through the DOT file and

photograph. Officers also learned that MARTIN was on extended supervision for a

felony, which qualified him for an ACT 79 search under Wisconsin Statute.

       17.    MARTIN was transported by emergency medical personnel to the

Emergency Room.



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       18.    Officers responded to the Emergency Room where MARTIN was

transported. MARTIN appeared to be more alert, so the officer administered a Field

Sobriety Test on MARTIN. MARTIN agreed to the Field Sobriety Test and was

administered the HGN test, the One Leg Stand Test, and the Walk and Turn Test. Due to

the results of the tests, MARTIN was in custody for Operating Motor Vehicle While

Impaired. MARTIN was administered his Miranda Rights, at which time he requested an

attorney. After MARTIN invoked his right to counsel, he spontaneously uttered that the

pills did not belong to him.

       19.    Officers then inventoried the blue M30 pills, which totaled approximately

904 pills with a package weight of 97.6 grams. Using the pill identifier from Drugs.com,

the blue M30 pills were identified as Oxycodone Hydrochloride. Based on their training

and experience, law enforcement officers believe that the blue M30 pills may likely be

counterfeit Oxycodone Hydrochloride pills. Therefore, one pill was crushed into a

powder and subjected to a fentanyl field test, which test returned negative for fentanyl.

However, I know that field testing of counterfeit M30 pills has produced false negative

results for the presence of fentanyl. Accordingly, I believe based on my training and

experience that the pills seized from MARTIN contain either Oxycodone Hydrochloride

or fentanyl, both Schedule II controlled substances. The pills have been sent to the

laboratory for further testing.

       20.    The Affiant reviewed MARTIN’s criminal history and observed the

following felony convictions associated to him:



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             a. February 6, 2009, Kenosha County Circuit Court felony conviction for
                Possession with Intent to Distribute, Court Case # 302008CF000915.

             b. April 8, 2009, Racine County Circuit Court felony conviction for Possession
                with Intent to Distribute, Court Case # 512008CF000802.

             c. August 25, 2020, Racine County Circuit Court felony conviction for
                Possession of a Firearm-Convicted Felon, Court Case # 52003000943481.

       21.      As described above, due to MARTIN’s active parole status, an Act 79 search

(2013 Wisconsin Act 79) was conducted of his vehicle. The following items were located

in MARTIN’s vehicle:

                a.     TARGET DEVICE A was located under the driver’s seat by the door

jam.

                b.     TARGET DEVICE B was located inside the center console

cupholder.

                c.     TARGET DEVICE C was located inside the center console

cupholder.

       22.      The TARGET DEVICES were taken into custody by the officer due to the

fact there was a large quantity of blue M30 pills located on MARTIN’s person.

       23.      The TARGET DEVICES are currently in the lawful possession of FBI. They

came into FBI’s possession after MARTIN was arrested pursuant to an arrest for

Possession With Intent to Deliver, a violation of State Statute 961.41(1)(a).

       24.      The TARGET DEVICES are currently in storage at FBI, located at 3600

South Lake Drive, St. Francis, Wisconsin. In my training and experience, I know that the

TARGET DEVICES have been stored in a manner in which their contents are, to the


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extent material to this investigation, in substantially the same state as they were when the

TARGET DEVICES first came into the possession of the FBI.

       25.    As a result of my training and experience, I know that drug dealers and

criminals use cellular phones to conduct their business and plan crimes. I am also aware

that cellular telephones provide narcotics traffickers and criminals with mobile access

and control over their illegal trade. They often use cellular telephones to communicate

with one another in furtherance of their activities. I am also aware that drug dealers and

criminals use multiple cellular telephones to try and thwart law enforcement from

uncovering their illegal activity. I am also aware that individuals engaged in illegal

activities take pictures using their cellular phones of themselves with narcotics and

firearms. I know cell phones frequently retain information for long periods of time,

including retaining call histories, text messages, voicemail messages, photographs,

internet history, GPS location, and other information that can be retrieved from the cell

phone even long after the cell phone ceased to be used. If unused and unaltered, like the

TARGET DEVICES in this case, data can remain indefinitely. Cellular telephones are

best analyzed in an offsite environment where the appropriate equipment can be used to

download the data off the phone and preserve a copy of the downloaded material for

inspection.

       26.    Based on my training and experience, I believe that the evidence

recovered/observed during MARTIN’s arrest, including the amount of narcotics and the

manner in which the narcotics were packaged, that MARTIN is involved in drug



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trafficking. I also believe MARTIN maintained ownership and/or control over the

TARGET DEVICES that were recovered as a result of his arrest.

       27.    Additionally, based upon the facts described above, I believe that MARTIN

used the TARGET DEVICES to facilitate controlled substances transactions and may

provide evidence of drug trafficking, which may likely be stored and recorded on the

TARGET DEVICES. More particularly, I believe that there is probable cause to believe

that a search of the information contained within the TARGET DEVICES described

above will produce evidence of a crime, namely evidence related to the possession and

trafficking of controlled substances.

                                  TECHNICAL TERMS

       28.    Based on my training and experience, I use the following technical terms to

convey the following meanings:

       29.    Wireless telephone: A wireless telephone (or mobile telephone, or cellular

telephone) is a handheld wireless device used for voice and data communication through

radio signals. These telephones send signals through networks of transmitter/receivers,

enabling communication with other wireless telephones or traditional “land line”

telephones.   A wireless telephone usually contains a “call log,” which records the

telephone number, date, and time of calls made to and from the phone. In addition to

enabling voice communications, wireless telephones offer a broad range of capabilities.

These capabilities include: storing names and phone numbers in electronic “address

books;” sending, receiving, and storing text messages and e-mail; taking, sending,

receiving, and storing still photographs and moving video; storing and playing back

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audio files; storing dates, appointments, and other information on personal calendars;

and accessing and downloading information from the Internet. Wireless telephones may

also include global positioning system (“GPS”) technology for determining the location

of the device.

       30.       Digital camera: A digital camera is a camera that records pictures as digital

picture files, rather than by using photographic film. Digital cameras use a variety of

fixed and removable storage media to store their recorded images. Images can usually

be retrieved by connecting the camera to a computer or by connecting the removable

storage medium to a separate reader. Removable storage media include various types of

flash memory cards or miniature hard drives. Most digital cameras also include a screen

for viewing the stored images. This storage media can contain any digital data, including

data unrelated to photographs or videos.

       31.       Portable media player: A portable media player (or “MP3 Player” or iPod)

is a handheld digital storage device designed primarily to store and play audio, video, or

photographic files. However, a portable media player can also store other digital data.

Some portable media players can use removable storage media. Removable storage

media include various types of flash memory cards or miniature hard drives. This

removable storage media can also store any digital data. Depending on the model, a

portable media player may have the ability to store very large amounts of electronic data

and may offer additional features such as a calendar, contact list, clock, or games.

       32.       GPS: A GPS navigation device uses the Global Positioning System to

display its current location. It often contains records the locations where it has been.

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Some GPS navigation devices can give a user driving or walking directions to another

location. These devices can contain records of the addresses or locations involved in such

navigation. The Global Positioning System (generally abbreviated “GPS”) consists of 24

NAVSTAR satellites orbiting the Earth. Each satellite contains an extremely accurate

clock. Each satellite repeatedly transmits by radio a mathematical representation of the

current time, combined with a special sequence of numbers. These signals are sent by

radio, using specifications that are publicly available. A GPS antenna on Earth can

receive those signals. When a GPS antenna receives signals from at least four satellites, a

computer connected to that antenna can mathematically calculate the antenna’s latitude,

longitude, and sometimes altitude with a high level of precision.

       33.      PDA: A personal digital assistant, or PDA, is a handheld electronic device

used for storing data (such as names, addresses, appointments or notes) and utilizing

computer programs. Some PDAs also function as wireless communication devices and

are used to access the Internet and send and receive e-mail. PDAs usually include a

memory card or other removable storage media for storing data and a keyboard and/or

touch screen for entering data. Removable storage media include various types of flash

memory cards or miniature hard drives. This removable storage media can store any

digital data.    Most PDAs run computer software, giving them many of the same

capabilities as personal computers. For example, PDA users can work with word-

processing documents, spreadsheets, and presentations. PDAs may also include global

positioning system (“GPS”) technology for determining the location of the device.



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      34.    IP Address: An Internet Protocol address (or simply “IP address”) is a

unique numeric address used by computers on the Internet. An IP address is a series of

four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every

computer attached to the Internet computer must be assigned an IP address so that

Internet traffic sent from and directed to that computer may be directed properly from

its source to its destination. Most Internet service providers control a range of IP

addresses. Some computers have static—that is, long-term—IP addresses, while other

computers have dynamic—that is, frequently changed—IP addresses.

      35.    Internet: The Internet is a global network of computers and other electronic

devices that communicate with each other.       Due to the structure of the Internet,

connections between devices on the Internet often cross state and international borders,

even when the devices communicating with each other are in the same state.

      36.    Based on my training, experience, and research, I know that the TARGET

DEVICES, have capabilities that allow them to serve as a wireless telephones, digital

cameras, portable media players, GPS navigation devices, and PDAs. In my training and

experience, examining data stored on devices of this type can uncover, among other

things, evidence that reveals or suggests who possessed or used the device.

              ELECTRONIC STORAGE AND FORENSIC ANALYSIS

      37.    Based on my knowledge, training, and experience, I know that electronic

devices can store information for long periods of time. Similarly, things that have been

viewed via the Internet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensics tools.

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      38.    Forensic evidence. As further described in Attachment B, this application

seeks permission to locate not only electronically stored information that might serve as

direct evidence of the crimes described on the warrant, but also forensic evidence that

establishes how the TARGET DEVICES were used, the purpose of their use, who used

them, and when. There is probable cause to believe that this forensic electronic evidence

might be on the TARGET DEVICES because:

             a.     Data on the storage medium can provide evidence of a file that was

once on the storage medium but has since been deleted or edited, or of a deleted portion

of a file (such as a paragraph that has been deleted from a word processing file).

             b.     Forensic evidence on a device can also indicate who has used or

controlled the device. This “user attribution” evidence is analogous to the search for

“indicia of occupancy” while executing a search warrant at a residence.

             c.     A person with appropriate familiarity with how an electronic device

works may, after examining this forensic evidence in its proper context, be able to draw

conclusions about how electronic devices were used, the purpose of their use, who used

them, and when.

             d.     The process of identifying the exact electronically stored information

on a storage medium that are necessary to draw an accurate conclusion is a dynamic

process. Electronic evidence is not always data that can be merely reviewed by a review

team and passed along to investigators. Whether data stored on a computer is evidence

may depend on other information stored on the computer and the application of



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knowledge about how a computer behaves. Therefore, contextual information necessary

to understand other evidence also falls within the scope of the warrant.

                e.    Further, in finding evidence of how a device was used, the purpose

of its use, who used it, and when, sometimes it is necessary to establish that a particular

thing is not present on a storage medium.

                f.    Internet: The Internet is a global network of computers and other

electronic devices that communicate with each other. Due to the structure of the Internet,

connections between devices on the Internet often cross state and international borders,

even when the devices communicating with each other are in the same state.

       39.      Nature of the examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the TARET

DEVICES consistent with the warrant. The examination may require authorities to

employ techniques, including but not limited to computer-assisted scans of the entire

medium, that might expose many parts of the TARET DEVICES to human inspection in

order to determine whether it is evidence described by the warrant.

       40.      Manner of execution. Because this warrant seeks only permission to examine

the devices already in law enforcement’s possession, the execution of this warrant does

not involve the physical intrusion onto a premises. Consequently, I submit there is

reasonable cause for the Court to authorize execution of the warrant at any time in the

day or night.

                                      CONCLUSION



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      41.    I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the TARGET DEVICES described in Attachment A to

seek the items described in Attachment B.




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                                  ATTACHMENT A

      The property to be searched is described as follows:

             a.     One   black   Apple    iPhone   bearing   IMEI#    353182930612634

(hereinafter “TARGET DEVICE A”);

             b.     One black Nokia cellular telephone bearing IMEI# 358712911622601

(hereinafter “TARGET DEVICE B”); and

             c.     One black Nokia cellular telephone bearing IMEI# 358712915453102

(hereinafter “TARGET DEVICE C”).

      42.    TARGET DEVICES A, B, and C, collectively the TARGET DEVICES, are

currently located within FBI Evidence, located at 3600 South Lake Drive, St. Francis,

Wisconsin.

      This warrant authorizes the forensic examination of the TARGET DEVICES for

the purpose of identifying the electronically stored information described in Attachment

B.




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                                     ATTACHMENT B


       1. All records on the TARGET DEVICES described in Attachment A that relate

to violations of 21 U.S.C. §§ 841 and 846, and involve Joshua MARTIN, including, but not

limited to:

            a. lists of customers and related identifying information;

            b. types, amounts, and prices of drugs trafficked as well as dates, places, and
               amounts of specific transactions;

            c. any information related to co-conspirators and sources of drugs and
               firearms (including names, addresses, phone numbers, or any other
               identifying information);

            d. any information recording schedule or travel;

            e. all bank records, checks, credit card bills, account information, and other
               financial records;

            f. Photographs and/or video depicting possession of drugs and firearms;

            g. Any evidence related to either the ownership, purchase, or possession of
               drugs;

            h. Records of Internet activity, including browser history, search terms that
               the user entered into any Internet search engine, and records of user-typed
               web addresses; and

            i. All data, communications, information, and records, in whatever form, that
               have any tendency to establish the actual or intended physical location of
               its user, or that of any of their associates involved in criminal activity, as
               well as the physical location of the TARGET DEVICES.

       2.      Evidence of user attribution showing who used or owned the TARGET

DEVICES at the time the things described in this warrant were created, edited, or




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deleted, such as logs, phonebooks, saved usernames and passwords, documents, and

browsing history;

      3.     As used above, the terms “records” and “information” include all of the

foregoing items of evidence in whatever form and by whatever means they may have

been created or stored, including any form of computer or electronic storage (such as

flash memory or other media that can store data) and any photographic form.

      This warrant authorizes a review of electronically stored information,

communications, other records and information disclosed pursuant to this warrant in

order to locate evidence, fruits, and instrumentalities described in this warrant. The

review of this electronic data may be conducted by any government personnel assisting

in the investigation, who may include, in addition to law enforcement officers and agents,

attorneys for the government, attorney support staff, and technical experts. Pursuant to

this warrant, the FBI may deliver a complete copy of the disclosed electronic data to the

custody and control of attorneys for the government and their support staff for their

independent review.




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                                                                                                                          Nov 22, 2023
                                           UNITED STATES DISTRICT COURT
                                                                                                                         s/ D. Olszewski
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 23         MJ        220
     Target Devices A, B, & C, currently in FBI                             )
   custody, as further described in Attachment A                            )
                                                                            )

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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                        Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before                12/06/2023               (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Hon. William E. Duffin                 .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                       .


Date and time issued:             11/22/2023 at 10:55 a.m.
                                                                                                          Judge’s signature

City and state: Milwaukee, WI                                                        Honorable William E. Duffin, U.S. Magistrate Judge
                                                                                                        Printed name and title
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AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




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                                  ATTACHMENT A

      The property to be searched is described as follows:

             a.     One   black   Apple    iPhone   bearing   IMEI#    353182930612634

(hereinafter “TARGET DEVICE A”);

             b.     One black Nokia cellular telephone bearing IMEI# 358712911622601

(hereinafter “TARGET DEVICE B”); and

             c.     One black Nokia cellular telephone bearing IMEI# 358712915453102

(hereinafter “TARGET DEVICE C”).

      2.     TARGET DEVICES A, B, and C, collectively the TARGET DEVICES, are

currently located within FBI Evidence, located at 3600 South Lake Drive, St. Francis,

Wisconsin.

      This warrant authorizes the forensic examination of the TARGET DEVICES for

the purpose of identifying the electronically stored information described in Attachment

B.




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                                     ATTACHMENT B


       1. All records on the TARGET DEVICES described in Attachment A that relate

to violations of 21 U.S.C. §§ 841 and 846, and involve Joshua MARTIN, including, but not

limited to:

            a. lists of customers and related identifying information;

            b. types, amounts, and prices of drugs trafficked as well as dates, places, and
               amounts of specific transactions;

            c. any information related to co-conspirators and sources of drugs and
               firearms (including names, addresses, phone numbers, or any other
               identifying information);

            d. any information recording schedule or travel;

            e. all bank records, checks, credit card bills, account information, and other
               financial records;

            f. Photographs and/or video depicting possession of drugs and firearms;

            g. Any evidence related to either the ownership, purchase, or possession of
               drugs;

            h. Records of Internet activity, including browser history, search terms that
               the user entered into any Internet search engine, and records of user-typed
               web addresses; and

            i. All data, communications, information, and records, in whatever form, that
               have any tendency to establish the actual or intended physical location of
               its user, or that of any of their associates involved in criminal activity, as
               well as the physical location of the TARGET DEVICES.

       2.      Evidence of user attribution showing who used or owned the TARGET

DEVICES at the time the things described in this warrant were created, edited, or




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deleted, such as logs, phonebooks, saved usernames and passwords, documents, and

browsing history;

      3.     As used above, the terms “records” and “information” include all of the

foregoing items of evidence in whatever form and by whatever means they may have

been created or stored, including any form of computer or electronic storage (such as

flash memory or other media that can store data) and any photographic form.

      This warrant authorizes a review of electronically stored information,

communications, other records and information disclosed pursuant to this warrant in

order to locate evidence, fruits, and instrumentalities described in this warrant. The

review of this electronic data may be conducted by any government personnel assisting

in the investigation, who may include, in addition to law enforcement officers and agents,

attorneys for the government, attorney support staff, and technical experts. Pursuant to

this warrant, the FBI may deliver a complete copy of the disclosed electronic data to the

custody and control of attorneys for the government and their support staff for their

independent review.




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